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STANLF,Y CARTF,R,

CITY ()F CHICA(}(),a municipal
Corporalion organized and existing
ll nder the laws ol`thc Statc ol`lllinois;

lN THE UNITE[) STATES DlSTRlCT C()URT
F()R THE NORTHERN l)lSTRICT ()F ILLIN()IS
EASTERN l)lVISI()N

Ptatmin‘ O@CV5485
JUDGE HlBBLER

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§ i\/\AG_JL)DGE KEYS
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C hicago Police ()1ticers SHlEl I)S #1290(1
WITCZAK #9251 ( ARTAGNFA #12967

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( ()NLAN #1_3()1 ) (1()NZALES #_3445. and)
(1`A[)()MSK1#9142 )

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Jurisdiction m u.l.vl¢mcrcounr

I)elendants.

'l`he jurisdiction ol`this Court is invoked pursuant to the (`ivil Rights /\ct. 42
U.S.(`.1083 28 U .S. (`. 13 31 and 1343(a)` the (`.onstitution ot`thc llnited

States. and supplemental jurisdiction. as provided under 28 U.S.(`. 13()7(:1).

Parties
Plaintil`l` Slanley (`arter isa resident oi`thc (`ity ol`(`hicago.
l)cl`endants Shields. Witczal<t Cartagnea. C`onlan. Gonzlacs and Gadomski
were. at the time ot`this occurrence duly licensed C`hicago Police Ol`liccrs.
'l`hey engaged in the conduct complained ot` in thc course and scope ol`thcir
employment while they were on duty and under the color of law. 'l`hcy were

acting in their individual capacities

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6.

l)el`endant (`ity ot`(`hicago is a municipal eorporation_ duly licensed under thc
laws ot`thc State ot` illinois At the time of`this occurrence the City of`
(`hicago was the employer ot` Del`endants Shiclds` Witczal<` C`artagnea.
(`onlant (ionxlaes and Gadomski. I)cl`endant City ol`(`hicago is responsible
1`or thc Polieies. practices and customs of`thc City ol`Chicago l’olice
Department. its Superintendcnt of Policet its (_)t`lice ol`Prol`cssional Standards
(hereinat`ter O.P.S.U. its Personnel I)ivision. its Internal At`t`airs Division
(hercinal`ter l./\.D.)_ and the Chicago police Board.

Facts
On ()ctohcr 2‘). 2005. during the late evening hours. Plaintil`l`Stanly (`arter
was walking in the vicinity ol`38_32 W Chicago Ave. C`hicago` lllinois. /\s the
Plaintit`l` walked on the sidewalk (`hicago Police officers surrounded the
l’laintil`l` with their weapons drawn.
I)cl`endants conducted an illegal detention and search of the Plaintil`l` and his
person. 'l`he defendants conducted an illegal interview ol`the Plaintil`t`.
Al`tcr detaining and questioning the Plaintit`t`. the police handcuffed the
Plaintil`t` and transported him in a police vehicle to various locations
throughout the (`ity ol` L,`hicago.
As a result ot`the detention and questioning of`the Plaintil`l`. the defendants
transported the Plaintil`l` to his home located at 552_3 W. lluron_ (`hicagot
lllinois. At that location. the defendants entered the l’laintit`t`s home and

conducted a search ot`thc residence

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17.

The defendants then transported the l‘laintiff` to a City of (`hicago police
station where he was fingerprintedt photographed and subjected to further
detention and questioning by the defendants

'l`he defendants falsified police reports indicating that received information of
a male black wearing a black coat and blue jeans selling drugs at a specific
location. 'l‘hc defendants further stated that the defendant matched the
physical description provided by the unknown informant

()n the date of the l’laintift`s arrest_ the Plaintiff was wearing gray shirt and
white undershirt.

'l`he arrest and detention of the Plaintifl` in the vicinity of38_32 W Chicago was
conducted in the absence of consent_ a valid search or arrest warrantt or
probable cause.

'l`he Plaintif|` filed a motion to quain thc arrest and suppress evidence illegally
seized based on the reports prepared by thc Del`endants.

Aftcr hearing testimony from one ofthc [)efendants. .ludge Linn sustained the
I’laintifl`s motion.

'l`he Plaintil`f was unlawfully detained in the Cook (`ounty Department of
(`orrections as a result of`the Defendants` conduct.

'l`he l)efendant officers falsified evidence against the Plaintiff. then used the
evidence to wrongfully prosecute the Plaintiff.

'l`he Plaintifl` suffered injuries and damages as a result of the Defendants`
actions_ including but not limited to: being arrested. detained and prosecuted

incarceration at the (`ook (`ounty [)epartntent of Corrections while waiting

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trial_ and other mental and psychological damage associated with being
illegally arrested. detained. charged_ prosecuted and incarcerated
COUNT ()NE

42 U.S.C 1983. l*`alse Arrest and Detention Claim
I)efendants Shields. Witcxakt (`artagnea_ (`onlam (}onzlaes and Gadomski.

18. 'l`he Plaintiffrc-alleges paragraphs 1-17.

l(). 'l`he actions ofthc l)efendants in illegally arresting and detaining the Plaintiff
deprived the Plaintil`f of his rights under the Fourth Amendment and
liourtccnth /\mendmcnts to the (`onstitution ofthe Unitcd States to be secure
in his person. papers and effects against unreasonable searches and seizures

2(). The actions of the Defendants were the direct and proximate cause of the
deprivation of said constitutional rights.

WHI§RI£FORF. the l’laintiffdemands substantial actual or compensatory damages

against I)e|`endants_ and because these Dcfendants acted maliciously wantonly or

oppressively. substantial punitive damages plus the costs of this action. plus

attorneys fees and such other and additional relief as this Court deems equitable and

just
C()UNT TWO
42 U.S.C. 1983. (`onspiracy C`laim
l)efendants Shields_ Witczak. Cartagnea~ (`onlan. Gonzlaes and Gadomski
21. Plaintiffre-alleges paragraphs l thorouin 17.
22. I)efendants. acting together and under color of law; reached an understanding

and agreentent. engaged in a course ofconduct and otherwise conspired

among and between themselves to deprive the Plaintiffofhis rights under the

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l"ourth and l"ourtecnth Amendment to the Constitution ofthe Unitcd Slates to
be secure in his person` papers and effects against unreasonable searches and
seizures . and in fact deprived him of said rights
WHl~`,Rlil*`ORlL 1’laintiff demands substantial actual or compensatory damages
against I)el`endant. and because these defendants acted maliciously` wantonly or
oppressively. substantial punitive damages plus the cost ofthis action` plus attorncys`
fees and such other and additional reliefas this (`ourt deems equitable and just.
COUNT THREF.

Supplcmental State law (.Tlaim for Malicious Prosecution
[)cfcndants Shields. Witczak. Cartagnca. Conlan. (ionzlaes and Gadomski

23. Plaintiffre-alleges paragraphs 1-17.
24. 'l`he actions ofthe Defendants in arresting searching and charging the

Plaintiff with felony charges were malicious and without probable cause.

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'l`he actions of the I)efcndants were the direct and proximate cause ofthe
malicious prosecution ofthe Plaintiff.

Wl lliRl€F()Rli. the l’laintiffdcmands substantial actual and compensatory damages
against the l)cl`endants and because these defendants acted maliciously wantonly. or
oppressivelyq substantial punitive damages plus the costs of this action. plus
attorneys fees and other such relief and additional relief as this C`ourt deems
equitable andjust.

COUNT FOUR

Monc/f Policy__ Practice and Custom Claim
I)efendant (`ity of (,`hicago

2(). P|aintiffrc-alleges paragraphs 1 through 17.

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3().

'fhe actions ofthe police officer Defcndants as alleged abovc_ were
committed pursuant to one or more interrelated dc facto policies practices
and/or customs of the (`ity ofChicagtx its Police [)epartment. its Police
Board. its ().l’.S. and l./\.D. its I’ersonnel Division, and/or its Supcrintendents.
(')n or before ()ctober 291 2005. Defendant City of Chicago its Police
Department. its Police Boardt its ().l’.S. and I.A.D. its Personnel Divisiont
and/or its Supcrintendcnts had interrelated def facto policies practices and/or
customs which included. inter alia: a) the failure to properly hire. train~
supervisc. disciplinc. transf`cn counsel and otherwise control police offices
who falsely while under oath. maliciously prosecute citizens based on illegally
arrests; b) the police code of silencc'. and c)the encouragement of wrongful
arrests prosecutions imprisonment and convictions

'l`hc policy. practice and custom ofa police code of silence results in police
officers refusing to report instances of police misconduct` particularly false
arrest` of which they are awaret despite their obligation under police
regulations to do so. which also includes police officers either remaining silent
or giving false and misleading information during official investigations
and/or in official reports in order to protect themselves or other police officers
from internal discipline civil liability or criminal charges

'1`hc aforementioned policies practices and customs; i.e. failing to hire` train_
supervisc. disciplinc_ counsel and control. as well as the code ofsilcnce
proximater caused injury to the Plaintiff` in this case. inter alia. because the

police officer I)cl`cndants had good reason to believe that their misconduct

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would not be rcveled or reported by fellow officers or their supervisors that
their denials would go unchallenged by these supervisors and fellow officers
from the police Superintcndent. Police 13oard. and I)irectors of().P.S. on
downq and that they were effectively immune from disciplinary action. thereby
protecting them from the consequences oftheir unconstitutional conduct.

l3ut for the beliefthat they would be so protected both fellow officers and by
the departmcnt. from serious career and criminal consequences Defcndants
Shields. Witczak` (`artagnea. (`onlam (ionzlacs and Gadomski would not have
engaged in the conduct that resulted in the injuries to the Plaintiff.

Said interrelated policies practices and customs as set forth abovc. both
individually and togethcr. were implemented and maintained with deliberate
indifference. and encouraged the l)efendants to commit the aforesaid acts
against the l’laintil`fand therefore acted as direct and proximate cause of said
constitutional violations and injuries to the Plaintiff.

'l`hcse polices. practices and customs encouraged the use of unconstitutional
arrests imprisonments falsifying evidence. and the use of that evidence and
testimony at prosecutions and werc. separately and togetlter_ a direct and
proximate cause of the unconstitutional acts committed by the individual

offices in this case and injuries sustained by the Plaintiff.

WllliRlil"()RF,. l’laintiffdemandsjudgment against the l)efendant City of (`hicago

for substantial actual or compensatory damages plus the costs ofthis action. plus

attorneys` fees and such other and additional relief as this C`ourt deems equitable and

just

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34.

COUNT FlVE

Ret\';)orrdea! .S`Mperior claim
I)efendant City of Chicago

'l`he Plaintiffrc-alleges paragraphs l though 17.

'[`he aforesaid acts and state law violations of`l)efendants . as set forth abovc.
were performed in the scope of their employment as Chicago police offices
were willful and wanton. and therefore Defendant (.`ity of C`hicago as a
principal is liable for the actions of it s agents under the doctrine of

respondeat stt;)t’r'ir)r.

Wl Il*`.Rlil"()RIi. the l’laintifl` demands judgment against the I)efendant (`ity of

(`hicago in the amounts sought against the individual defendants in this state law

claims as set forth in Count Four.

38.

COUNT SIX

745 111(.`8 l(]/f)-l(lQ
Def`endant (`ity of C`hicago

Plaintif`fre-allcges paragraphs l through 17.

At the time ol`this occurrence. Def`cndant C`ity of (`hicago was the employer
of I)cl`endants Shields Witczak_ C`artagnca. Conlan. (ionzlaes and Gadomski.
l)cfendants Shields. Witczak. (`artagnea. Conlan__ Gonzlaes and Gadomski
committed the acts alleged above under color of law and within the scope of

their employment as employees ofthe (,`ity of(.`hicago.

WHF,RH]~`()RE. should I)ef`endants Shields. Witczak. Cartagnea` (`onlan. Gonzlacs and

Gadomski be found liable on one or more of the claims set forth above` Plaintiff

demands that pursuant to 745 ll,(`S 10/9-1()21 [)cfendant (`ity of C`hicago be found liable

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for any judgment he obtains thereon against said Dcfcndants as well as for all attorneys`

fees and costs awarded

PLA|NT|FF l)El\/IANI)S TRlAL BY .IURY

Respectfully submitted

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Attorney for Plaintiff`

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